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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

              -against-                                         ORDER

 JOSE SANTANA,                                             18 Cr. 466 (PGG)

                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              The violation of supervised release conference currently scheduled for February

15, 2021 at 10:00 a.m. is adjourned to February 16, 2021 at 10:00 a.m.



Dated: New York, New York
       January 11, 2021
                                            SO ORDERED.


                                            _________________________________
                                            Paul G. Gardephe
                                            United States District Judge
